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  IT IS ORDERED as set forth below:



  Date: October 24, 2018
                                                      _________________________________

                                                               Jeffery W. Cavender
                                                          U.S. Bankruptcy Court Judge

 ________________________________________________________________




                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

  IN RE:                                           CASE NO. 17-56316-JWC

  JULIAN SYNERR ARNOLD and STACEY                  CHAPTER 13
  ENITA ARNOLD,

                       Debtors.


  TAARIQ HEAVEN,                                   ADVERSARY PROCEEDING NO.
                                                   18-5077-JWC
                       Plaintiff,
  v.

  JULIAN SYNERR ARNOLD,

                       Defendant.


                                           ORDER

       Taariq Heaven (“Plaintiff”) initiated this adversary proceeding against Julian Synerr

Arnold (“Debtor” or “Defendant”) seeking a determination that a debt owed by Defendant is



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nondischargeable pursuant to section 523 of the Bankruptcy Code. The Court finds this matter is

a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(I), and the Court has jurisdiction over the

proceeding pursuant to 28 U.S.C. §§ 157 and 1334. Venue is proper in this Court pursuant to 28

U.S.C. §§ 1408 and 1409. For the reasons stated below, this adversary proceeding is dismissed

without prejudice.

         Defendant filed a chapter 13 bankruptcy case on April 4, 2017. Plaintiff filed a Complaint

to Determine Debt Nondischargeable and to Object to Debtor’s Discharge on April 12, 2018

seeking to except from Defendant’s discharge damages resulting from payment to Defendant for

contracting work pursuant to 11 U.S.C. § 523(a)(3) and (a)(2), (a)(4), and (a)(6) (the “Complaint”)

(Doc. No. 1). Plaintiff filed a certificate of service showing service of the summons and Complaint

upon Defendant on April 13, 2018 (Doc. No. 4). Defendant did not answer or otherwise respond,

and Plaintiff filed a motion for default judgment seeking entry of default and default judgment

pursuant to Fed. R. Bankr. P. 7055 on May 25, 2018. The clerk entered default against Defendant

on June 1, 2018, and Defendant did not file a response to the Motion.

         On September 19, 2018, the Court entered an order denying Plaintiff’s motion as to both

counts and set a status hearing on October 16, 2018. Plaintiff’s counsel, John Brookhuis, appeared

for Plaintiff and orally moved the Court to reconsider its order denying default judgment.

Plaintiff’s counsel explained that Plaintiff was seeking a determination under both subsections of

11 U.S.C. § 523(a)(3).

         The Court dismissed Defendant’s chapter 13 case on October 19, 2018 1 without the Debtor

receiving a discharge. 2 Thus none of Defendant’s debt will be discharged in his lead bankruptcy

case. Pursuant to 11 U.S.C. § 523(b), a determination that Plaintiff’s debt is not dischargeable


1
    Main Case Doc. No. 64.
2
    See Main Case Docket, generally.

                                                 2
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pursuant to 11 U.S.C. § 523(a)(3) in the current bankruptcy case would not bar Defendant from

seeking to discharge such debts in a future bankruptcy case. Accordingly, Plaintiff’s Complaint is

moot.

        Further, while “the dismissal of an underlying bankruptcy case does not automatically strip

a federal court of jurisdiction over an adversary proceeding which was related to the bankruptcy

case at the time of its commencement[,] the decision whether to retain jurisdiction over the

adversary proceeding should be left to the sound discretion of the bankruptcy court[.]” In re

Morris, 950 F.2d 1531, 1534 (11th Cir. 1992). In the exercise of its discretion, the Court elects

not to retain jurisdiction of this dischargeability action. Therefore, it is

        ORDERED that Plaintiff’s oral motion for reconsideration is DENIED; and it is

        FURTHER ORDERED that this adversary proceeding be, and it hereby is, DISMISSED

without prejudice as to both Counts.

                                       END OF DOCUMENT




                                                   3
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